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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND NOV = 1 2023

Southern Division
AT GREENBELT

CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA DISTRICT OF MARYLAND ny?
ay DEPUTY
y. Criminal No. TDC 23-CR-00381-1
SAMUEL SWEELEY
Defendant.

ORDER [PURSUANT TO Fed R. Crim. P. 5(f)]

As amended on October 21, 2020, Federal Rule of Criminal Procedure 5(f) and the Due
Process Protections Act, Pub. L. No 116-182, 134 Stat. 894 (Oct. 21, 2020) require that:

“In all criminal proceedings, on the first scheduled court date when both prosecutor and
defense counsel are present, the judge shall issue an oral and written order to prosecution and
defense counsel that confirms the disclosure obligation of the prosecutor under Brady v. Maryland,
373 U.S. 83 (1963) and its progeny, and the possible consequences of violating such an order under
applicable law.”

Accordingly, the Court ORDERS the United States to adhere to the disclosure obligations
set forth in Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Brady v. Maryland instructs
that “the suppression by the prosecution of evidence favorable to an accused” violates due process
where the evidence is “material either to guilt or to punishment, irrespective of the good faith or
bad faith of the prosecution.” 373 U.S. at 87. Failure to adhere to this requirement in a timely
manner may result in serious consequences, including, but not limited to, exclusion of evidence,
adverse jury instructions, dismissal of charges, contempt proceedings, vacating a conviction, or
disciplinary action against the prosecution.

Having given counsel the oral admonition required by the Due Process Protections Act, the
United States is ordered to produce in a timely manner all exculpatory evidence to the defendant
pursuant to Brady v. Maryland and its progeny. Not doing so may result in the imposition of the

sanctions referenced in this Order.

It is SO ORDERED.

Date: November 1, 2023

The Honorable Gina L. Simms
United States Magistrate Judge
